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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                    CRIMINAL 05-0235CCC
 1) OMAR MARRERO-CRUZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 2) CARLOS OLIVERAS-GONZALEZ
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 3) SAMUEL BRISTOL-MARTIR
 (Counts 1, 6, 7, 8, 9, 10)
 4) ALVIN FLORES-BOSQUEZ
 (Counts 1, 6, 7, and 8)
 5) FRANCISCO SANTIAGO-ALBINO
 (Counts 1, 9 and 10)
 6) JAMILL AGUILA-BARRIOS
 (Counts 1, 2, 3, 4, 5, 6, 7 and 8)
 Defendants
                                            ORDER
       Before the Court is defendant Omar Marrero-Cruz’ Motion to Dismiss for Due Process
Violations and/or Sixth Amendment Violation (docket entry 251) filed on April 5, 2006
in which movant claims, as he does at paragraph 7 of his Motion for New Trial (docket entry
260), that there were speedy trial violations stemming from delays during trial and jury
deliberation. As the following data will bear out, these contentions lack any merit.
       This case started with jury selection, within speedy rial constraints, on Tuesday, February
14, 2006. The first two full days of trial1 were February 15 and February 16, 2006. On
Friday, February 17, 2006 the Court continued with the ongoing trial of Wanda Ivette Ortega-
Ortiz v. Farmacias Carimas, Civil 03-1758. February 20, 2006, Monday, was President’s Day.
The trial was resumed on Tuesday, February 21, 2006 and continued that week on
Wednesday, February 22 and Friday, February 24, 2006. On February 23, 2006 the Court


       1
           All the sessions were full work days throughout the trial.
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had to recess in this case due to the further jury trial scheduled in United States v. Robinson
Tejada, Cr. 05-0245; where the jury was deliberating on criminal forfeiture allegations. After
the weekend, the sixth day of trial was held in this case on Tuesday, February 28, 2006. On
Wednesday and Thursday, March 1 and 2, 2006, the Court selected the jury and held the first
two full days of trial in United States v. José Lugo-Guerrero, Cr. 05-0047, an armed bank
robbery case that lasted six days. On Friday of that same week, March 3, 2006, trial resumed
in this case. Since time had to be shared with Cr. 05-0047, further jury trial continued in that
case on March 7 and 8, 2006. On Monday, March 6, 2006 no session was held in the Omar
Marrero-Cruz case since Jorge L. Armenteros, counsel for defendant Santiago-Albino had case
04-2062, United States v. Roy Pizarro-Berríos, scheduled for oral argument on that day at
9:30 AM before the First Circuit and the Court was considering the four (4) Rule 29 motions
made after conclusion of the government’s case in chief. Ruling had been reserved on that part
of the defendant’s oral Rule 29(a) motion which had to do with Counts 2, 4, 6, 7 and 9. On
March 8, 2006 the Court issued its ruling with statement of reasons (see docket entry 200).
The next day, Thursday, March 9, 2006, the eighth day of trial was held in this case and
resumed on March 15, 2006 when the government rested on rebuttal. No session was held
on Friday, March 10, 2006 to allow defense attorneys, upon their request, to attend a CJA
seminar, nor on Monday, March 13, 2006 because a juror had a summons to appear in court
(see juror note in record). On March 14 and March 16, 2006 the Court held the final two
sessions in Cr. 05-0047, the jury trial which had started on March 1, 2006. Between those
two dates, further jury trial was held in this case on March 15, 2006. Since all of the evidence
had been presented by then, the Court worked on Thursday and Friday, March 16 and March
17, 2006, on its forty-page proposed jury charge.
       The following Monday, March 20, 2006 informal and formal charge conferences were
held, followed by all day closing arguments the next day, Tuesday, March 21, 2006. On
March 22, 2006 the case was continued, without objection, because a juror had a medical
appointment. The jury received instructions on Thursday, March 23, 2006 and started
deliberating that same afternoon. On the second day of deliberations, Friday, March 24, 2006
the foreman reported an incident, via a written communication that is part of the record,
regarding a juror who had done outside research in the internet on three legal terms.
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Individualized voir dire of the foreman and two jurors was conducted that same day regarding
this incident. Movant and all the other parties agreed that there was no need to conduct voir
dire of the remaining jurors on this specific matter. Also discussed in chambers that day was
an incident that occurred that morning between a deputy U.S. Marshal and defendant Santiago-
Abino’s spouse, as well as a newspaper article published in El Nuevo Día on March 24, 2006
regarding the unrelated arrests of other policemen on similar charges which listed in a chart the
names of the four defendants in this case. Individualized voir dire was held as to that newspaper
article. The parties were granted time to file written motions regarding these matters. On
Wednesday, March 29, 2006 defendant Brístol-Mártir filed a Motion for Mistrial (docket entry
230) and on March 31, 2006 he filed an Objection to Recharging the Jury (docket entry
234). Defendant Oliveras also requested a mistrial and objected the recharging of the jury on
April 4, 2006 (docket entry 235). Movant filed the present motion and a sealed motion
(docket entry 238) on April 3, 2006 and defendant Santiago-Albino requested a mistrial on
April 3, 2006 (docket entry 236). The government responded to all of these motions on
April 3, 2006 (docket entry 239). The motions for mistrial were all denied on April 4,2006
(docket entry 242) and the trial resumed that same day at 10:00 AM. The jury trial was not
resumed earlier due to the outside research and spouse incidents that were briefed and because
a juror had medical appointments on March 27, March 29 and April 3, 2006, all of which
were previously known to the parties and acquiesced to.
       Sealed orders were issued on March 27,2006 (docket entry 227) (regarding the
incident of Santiago-Albino’s spouse) and on March 29, 2006 (docket entry 232) (regarding
the research material conducted by the juror and the Court’s re-instructing the jury on Counts
2, 4, 6, 7 and 9). The parties were granted until April 3, 2006 to raise objections to the
proposed amended instruction on these counts.
       On April 4, 2006 the amended instruction was read to the jury; they were reminded
that they were to consider all of the Court’s instructions as a whole, not to ignore any
instruction and that they had to consider the evidence as to each defendant and each charge
separately. Deliberations started anew with the two alternates as part of the regular jury since
at the March 24, 2006 in-chambers conference all parties had agreed that the juror who
improperly brought the research material and the juror who had an award trip to France the
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next day should be excused. The Court explained to the newly constituted jury that they re-
started deliberation on a clean slate as if it were day one.
       During the trial period of February 14 through April 4, 2006 the following motions
were considered and corresponding orders issued:
Docket Entry          Mo tions Submitted                      Date filed              Ruling

162            Joint M otion to Dism iss                      2/14/06      Denied, 2/15/06 (d.e. 167)

163            Mo tion in Limine by Om ar Marrero             2/14/06      Denied, endorsed order 2/15/06
               Re: Evidence

164            Motion for Grand Jury Transcript               2/14/06      Denied, endorsed order 2/15/06

               by Om ar Marrero

168            Mo tion for Reconsideration of Denial          2/16/06      Denied, endorsed order 2/16/06
               of Jencks Material by Francisco Santiago

181            Motion in Limine for Elimination of            2/24/06      Granted, endorsed order 2/24/06
               Names from T ranscripts by
               Francisco Santiago

186/1 87       Sealed M otion s by U .S.A .                   3/2/06       Endorsed order 3/3/06

188            M otion to Quash Subpoena by                   3/3/06       Granted, 3/14/06 (d.e. 211)
               U.S.A . (Court orde red defendants
               to respond by 3/6/06)

196            Respo nse in O pposition by S . Brístol)       3/6/06       Granted, 3/14/06 (d.e. 211)

197            Mo tion informing defendant                    3/6/06       Noted, 3/8/06 (d.e. 198)
               Carlos Oliveras’ condition

199            Ord er ruling that all co-conspirato rs’       3/8/06
               Statements submitted in evidence
               are admissible.

200            O rder denying rem aining portion o f          3/8/06
               Rule 29 Motion

206            Motion to sever defendant by                   3/12/06      Denied, 3/14/06 (d.e. 213)
               Samuel Brístol

204            Proposed Jury Instructions                     3/9/06       Granted as to Francisco Santiago
               by Carlos Oliveras                                          Albino, 3/21/06 (d.e. 219)

207            Proposed Jury Instructions                     3/13/06

227            Sealed Ord er                                  3/27/06

228            Sealed Order                                   3/27/06

230            Renewe d M otion for M istrial                 3/29/06      Denied, 4/4/06 (d.e. 242)
               by Samuel Brístol
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232          Sealed Order                             3/29/06

234          Response to C ourt O rder                3/31/06      Denied, 4/4/06 (d.e. 242)
             by Samuel Brístol

235          Response to Court order by               4/03/06      Denied, 4/4/06 (d.e. 242)
             by Carlos O liveras

236          Response to C ourt O rder                4/03/06      Denied, 4/4/06 (d.e. 242)
             by Francisco Santiago (joinder)

238          Response to C ourt O rder                4/03/06      Denied, 4/4/06 (d.e. 242)
             by Omar Marrero (Sealed)

       Having considered all of the circumstances and factors relevant to defendants’ speedy
trial rights, the Court concludes that:        (1) the trial was commenced within speedy trial
constraints, (2) the trial process flowed without interruption, except for those brief instances
in which the Court had to conduct proceedings in two other criminal cases, Cr. 05-0245 and
Cr. 05-0047, simultaneously being tried, jurors’ absences consented by the parties, defense
attorneys’ CJA seminar attendance and attorney Armentero’s appearance before the First
Circuit on March 6, 2006, and, (3) the six-work-day interruption during deliberations, to wit,
March 27 through 31 and April 3, 2006, caused both by the juror’s research issue and
defendants’ subsequent motions expressing their views and by three medical appointments
previously notified by a juror was not only reasonable but necessary. The research situation,
which was in fact reduced to a four-work day interruption, given that one of the jurors could
not have been present anyway March 27, March 29 and April 3, 2006, was immediately
corrected by removing the juror and by re-instructing the jury newly constituted precisely on
the particular counts as to which the substituted juror had brought outside information regarding
the definition of three legal terms. It should be noted that the two alternate jurors who became
part of the deliberative process on April 4, 2006 were not privy to such information and that
the three jurors who were interviewed in chambers all said that the outside research materials
were shared with them for just two or three minutes, not the one hour that movant contends.
It is also significant to note that the outside research which the substituted juror read to the
others was favorable to defendants. (See March 29, 2006 Order, docket entry 232.)
       The trial chronology reflects that there was no delay during this trial; the defendant’s
motion voices concerns which are based on pure speculation. At page 3 of his motion he states:
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       Defendant’s concern and allegation as to the violation of his speedy trial rights is
       that the jury by now has done one of the three acts that affect the purity of the
       jury deliberations: 1 - they had (sic) forgotten all testimonial evidence; 2 - they
       have spoken with others (family, friends, at work, at home) regarding the facts
       of this case; or, 3- they have researched their own doubts in the case from
       extraneous sources.
There is absolutely no factual basis for these charges aimed at a jury which has been fully
attentive to the evidence and responsive throughout the entire trial. These jurors have been
repeatedly told not to discuss the case with anyone, not to consider any media reports and not
to do any research or investigation on their own. The fact that one juror out of zeal violated
the Court’s instructions and conducted outside research does not mean that the remaining
jurors, including the two alternates who joined the panel, have engaged in any of the
irresponsible conduct that movant now attributes to them. These imputations are based on
mere conjecture in what seems to be an attempt to take undue advantage.
       Finally, we must address movant’s claim that the Court has not undertaken a proper
inquiry regarding tainting of the jury (motion at p. 3). Suffice it to state that movant agreed,
together with the rest of the parties, during the March 24, 2006 in-chambers conference that
there was no need to conduct further voir dire beyond the three jurors interviewed since all
parties understood, and so declared it for the record, that they had provided sufficient
information on the matter. This notwithstanding, on the eve of trial, defendant chose to present
a sealed motion (docket entry 238) requesting that the Court conduct a new voir dire of the
new jury that had been constituted since March 24, 2006 and submitting six questions for this
purpose.
       No court can guarantee a perfect trial, however, movant’s and co-defendants’ right to
a speedy and a fair trial has been preserved. For the reasons stated, defendant Omar Marrero-
Cruz’ Motion to Dismiss filed on April 5, 2006 (docket entry 251), joined by defendants
Oliveras and Santiago-Albino (docket entries 257 and 258) based on alleged speedy trial
violations is DENIED.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 11, 2006.


                                                    S/CARMEN CONSUELO CEREZO
                                                    United States District Judge
